EXHIBIT A
 Technical Update
  and Conceptual
Path Forward - 2020
     Northrop Grumman Missions Systems
        Former Litton Systems Facility
             Springfield, Missouri

     Presentation Date: January 29, 2020
Agenda




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         I.      Recap from November 2019
                 Public Meeting
         II.     Fantastic Caverns Update
         III.    Brief Overview of Site History
         IV.     Status of On-Going Remedial
                 Investigation Activities
Agenda   V.      Status of On-Going Remedial
                 System Expansions
         VI.     Overview of Conceptual Site
                 Model
         VII.    Data Objectives to Complete
                 the Remedial Investigations
         VIII.   Path Forward to the Feasibility
                 Study


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Recap from November 2019
Public Meeting




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          • Domestic Well Sampling
    Key     Program
             – Sampling Frequency
 Topics      – Data “Variability”

   from   • Timeline for Final Remedial Plan

 Public   • Department of Health and
Meeting     Senior Services (DHSS) Public
            Health Consultation




                                               5
            • Total Wells in the Program = 357
            • Wells with TCE Presently > MCL = 5

Domestic    • Wells with Detectable TCE and/or
              Degradation Byproducts = 86
     Well   • Wells in the “ND Subset” = 271
            • Wells Sampled in January 2020 = 99
Sampling       –   Wells with Detectable TCE
                   and/or Degradation
 Program           Byproducts = 66
               –   Wells in the “ND Subset” = 13




                                               6
Domestic
Well
Sampling
Program




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Fantastic Caverns Update




                           8
            • Agreements in Place
            • Monthly Sampling Confirms TCE
              Levels in the Caverns are Below
              6.0 µg/L
Fantastic   • Mitigations via Borehole Venting
              Appears to be Effective
 Caverns    • Fantastic Caverns has
              Developed a Detailed Work
 Update       Scope for Q1 2020
               – Continued Sampling
               – Development of Work Plan
                 Documents
               – Refinement of Mitigations
            • Data Transmittals to MoDNR


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Geophysical
 Lines and
 Boreholes




              10
 Cave
Features




           11
Recent Fantastic Caverns Data




                                12
                    8-hour Summa Canister Measurements of TCE (µg/m³)
                 Location
                                          9/11/19 9/25/19 10/14/19 10/31/19 11/17/19
Lobby
                                            0.0    0.20     0.0         0.0
Passage Behind Underground
                                            0.0     0.0     0.0         1.5
Classroom
Auditorium Stage                            0.0    0.18     0.35        0.0
Hall of Giants                              0.0    0.18     0.34        0.0
Mushroom Beds
Breakdown
Lower Passage - Upstream                    0.0    0.23     0.34   LP Flow     0.0
Lower Passage - Downstream                  1.5     1.0     12     LP Flow     6.1
South Side of Canyon                                                    1.2
North Side of Sinkhole                                                  2.0
Mud Bank Past Projector                     0.0    0.18     0.0         0.87   0.0
Tour Jeep                                   0.0     0.0     0.0         0.32   0.0
Top of Vent Shaft V1
Paradise Room BH V3                         0.0    0.23     0.35        60     0.0
White's Room BH V7                         0.61    0.53     0.35        230    0.22
Welsh's Room BH V8                          180     160     620         0.0    240
Smalley Cave




                                                                                       13
Brief Overview of Site History




                                 14
1970




       15
1975




       16
1985




       17
       1975
1970




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19
              •   Vadose Zone Treatment
                   – Electrical Resistive Heating (ERH) at the
                     SB-19 Area, New Acid Pits (NAP), and
                     Old Acid Pits (OAP)
                   – Excavation and Capping of Copper
Summary              Impacted Soils at OAP and A/B
                     Lagoon

         of
                   – Excavation of Copper Impacted Soils
                     at the Former Building Sub-Floor
                   – Soil Mixing and Enhanced In-Situ

Remedial             Bioremediation (EISB) at the OAP,
                     Former Sanitary Lagoon, and Building
                     Sub-Floor
 Activities   •   Groundwater
                   – EISB at the OAP, NAP, Former Sanitary
                     Lagoon, and Building Sub-Floor
                   – Extraction and Treatment of
                     Groundwater from the Springfield and
                     Ozark Aquifers



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Status of On-Going Remedial
Investigation Activities




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                 •   Downhole Geophysics
                      – Existing Monitoring Wells
                      – Domestic Wells
                 •   Installation and Testing of Ozark
Status of On-        Monitoring Wells

       Going     •   Installation and Testing of Springfield
                     Monitoring Wells
   Remedial      •   Sampling of Saturated Sediments in
Investigation        “Cutter Features” at the OAP,
                     Former Sanitary Lagoon, and
    Activities       Former Building Sub-Floor Area
                 •   2019 Annual Groundwater
                     Monitoring Event
                 •   Shallow Soil Vapor Sampling and
                     Hanger Sampling


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Downhole
Geophysics




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Current
 Well
Drilling



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  Cutter
Evaluations




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27
Soil Vapor
 Sampling
Completed
  to Date




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Sampling Locations




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  Upcoming
 Work Plan for
Soil Vapor and
     Hanger
 Sampling at
  the Airport




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Status of On-Going Remedial
System Expansions




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  Status of
 On-Going     – IW-01 Currently Operating – 95 to
 Remedial       100 gpm
              – Piping Connections Complete -
    System      MWO-05 and MWO-07

Expansions    – Expanded System Start-Up
                Scheduled for Q1 2020
   – Ozark
   Aquifer


                                                    32
                – MW-129, -135, and -135 System in
                  Operation – 12 gpm
                – Updated System will have 12
                  Pumping Wells
    Status of       • 3 in Sub-Floor Area (New Well,
                      MW-132, MW-133)
  On-Going          • 2 at the Airport (MW-135 and
                      MW-136)
   Remedial         • 7 at the OAP (MW-129, MW-
                      101, RW-OAP1 to RW-0AP5)
      System    – Permitting for New Treatment
 Expansions       Building
                – System Design Updates
– Springfield   – Well Installations and Pump Testing
                – Piping, Well Vaults, Pump
     Aquifer      Installations
                – Electrical Connections
                – Expanded System Start-Up
                  Scheduled for Q2 2020



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  Current
  System
Expansions




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Treatment
  System
Overview




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 Springfield Treatment
   System Average
Pumping Rate = 12 gpm




      Ozark Treatment System
      Average Pumping Rate
             = 95 gpm




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Conceptual Site Model (CSM) -
Geology and Hydrogeology




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Is this a CSM?




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                                                    Conceptual
                                                      Model


                        On-Site                                                  Off-Site


Unsaturated      Saturated
Zone Source     Zone Source
   Mass            Mass                        Groundwater                                   Soil
                                                                                            Vapor

     VOCs in      VOCs in
                                Shallow           Springfield    ?     Ozark
    Saturated    Fractured
                              “Transient”          Aquifer             Aquifer              Domestic
     “Cutter”      Rock
                                 Water                                                        Wells
      Clays


                                                                 Cotter and Jefferson
                         Low-Yield           Higher                                         Fantastic
                                                                City Formations (300 –
                           Micro-             Yield                                          Cavern
                                                                     650 FT BGS) –
                         Fractures           Macro-
                                                                “Domestic Yield Zone”
                                            Fractures
                                            and Karst
                                                                Roubidoux Formation         Springs
                                                                 (650 - 850 FT BGS) –
                                                                  “High Yield Zone”


                                                                  Gunter Sandstone
                                                                 Formation (1,100 to
                                                                1,150 FT BGS) – “High
                                                                     Yield Zone”




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Data Objective (DO) Flow Chart

   DO                       Data
             Hypotheses
 Question                 Collection



  Good
Enough for    Update      Hypotheses
 Remedy        CSM         Reflection
Selection?



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Overview of
 Key Site
 Features                          Fantastic
                                   Caverns

                                                       Ritter
                                                      Springs


              Willard
              Road




                                               Site




                        York and
                         Harvey


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42
                                 Geology




Attorney-Client Work Product –      43
Privileged and Confidential
                        Geology – Well IW-01




Attorney-Client Work Product –    44
Privileged and Confidential
Dye Study Map




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 Fantastic
 Caverns
Catchment




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 Ozark
 Aquifer
Overdraft




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Conceptual Site Model -
Surface Geophysical Data




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 Surface
Geophysics




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Phase 1 of Surface Geophysics




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Phase 2 of
Surface
Geophysics

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Integrating
Geophysical
 Data Sets




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   CSM
 Following
Phase 2 of
  Surface
Geophysics




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Phase 3 of Surface Geophysics




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Phase 3 of Surface Geophysics




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Phase 3 of Surface Geophysics




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Phase 3 of Surface Geophysics




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Phase 3 of Surface Geophysics




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Phase 3 of Surface Geophysics




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Phase 3 of Surface Geophysics




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Phase 3 of Surface Geophysics




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Phase 3 of Surface Geophysics




                            62
 Fracture
and Fault
Features?




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Phase 3 of Surface Geophysics




                            64
              •   Conceptual Model of Northwest-Southeast
                  Trending Fracture Zone appears Accurate

              •   Potential Northeast Trending Faults and/or
                  Fractures also Observed in Ozark Aquifer

              •   Conductive Features in Burlington-Keokuk
                  Limestone appear to Extend to the North

  Summary         along the Western Extent of Willard Road
                  Assessment Area

 of Surface   •   Conductive Features Observed Below the
                  Northview Formation Aquitard in the Ozark
Geophysics        Aquifer

                   •   On the Site
                   •   Along Willard Road

              •   Installation and Sampling of Wells in Key Areas
                  is Needed to Better Understand what the
                  Conductive Features Represent



                                                                    65
Conceptual Site Model -
Downhole Geophysics




                          66
                     • Heat Pulse, Electromagnetics (EM),
                       Temperature, Conductivity
                     • MWO-01 and -02 are 1,500 ft deep
                     • MWO-07 and -0-8 are 900 ft deep
  Downhole           • Zones of “inflow” and “outflow”
Geophysics –           observed
Ozark Aquifer        • Flow from 300 to 400 FT BGS is
                       Minimal
(MWO-01, -02, -05,
    -07, and -08)    • Flow from 400 to 650 FT BGS is
                       “Average”
                     • Strongest Inflow observed in
                       Roubidoux and Upper
                       Glasconade – 650 to 850 FT BGS


                                                       67
Conceptual Site Model –
VOCs in Springfield Rock Fractures




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                          VOCs in Springfield Rock
                        Fractures at the OAP (µg/L)




                             RWOAP-1    RWOAP-2    MW-101    Wells are Screened in
"Screen" Interval (FT BGS)    (28-75)    (48-70)   (21-59)   Burlington-Keokuk
                                                             Limestone
      TCE                     930,000    350,000   320,000
   1,1,1-TCA                   2,100      2,200     26,000
  cis-1,2-DCE                  13,000     27,000     9,300     Much Higher
trans-1,2-DCE                 < 1,000    < 1,000   < 1,000   Concentrations of
                                                             Constituents than
    1,1-DCE                    47,000     18,000    13,000   Currently Pumped
                                                                at MW-129
vinyl chloride                  490       < 500     < 500
 1,4-dioxane                  30,000      5,400     7,600



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70
MW-113




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                                                           Remedial
                                                         Investigations
                                                                                                                     Soil Vapor
                                                                                                                     and Indoor
                                                                                                                     Air Testing
                                   On-Site                                                    Off-Site


      Unsaturated           Saturated
      Zone Source          Zone Source
         Mass                 Mass                        Groundwater                                                   Soil
                                                                                                                       Vapor

                VOCs in      VOCs in
                                           Shallow           Springfield     ?    Ozark
               Saturated    Fractured
                                         “Transient”          Aquifer             Aquifer                              Domestic
                “Cutter”      Rock
                                            Water                                                                        Wells
                 Clays

                                                                            Cotter and Jefferson
                                    Low-Yield           Higher             City Formations (300 –                      Fantastic
                                      Micro-             Yield                  650 FT BGS) –                           Cavern
                                    Fractures           Macro-             “Domestic Yield Zone”
                                                       Fractures
                                                       and Karst           Roubidoux Formation
                                                                            (650 - 850 FT BGS) –                        Springs
                                                                             “High Yield Zone”


                                                                             Gunter Sandstone
                                    Surface                                 Formation (1,100 to
                                  Geophysics,                              1,150 FT BGS) – “High
                                   Monitoring                                   Yield Zone”              Sampling
                                     Wells,
Soil Borings                                                                                               and
                                   Sampling,
 and Lab                                                                                                  Analysis
                                    Aquifer
 Analysis                           Testing
                                                                                  Downhole
                                                                                 Geophysics
                                                                                                                                   72
                                                       Interim Actions

                                                                                                         Domestic
                                                                                                         Treatment
                                 On-Site                                                      Off-Site    Systems


     Unsaturated          Saturated
     Zone Source         Zone Source
        Mass                Mass                         Groundwater           ?   ?   ?      ?           Soil
                                                                                                         Vapor

              VOCs in      VOCs in
                                          Shallow           Springfield    ?       Ozark
             Saturated    Fractured
                                        “Transient”          Aquifer               Aquifer               Domestic
              “Cutter”      Rock
                                           Water                                                           Wells
               Clays

                                                                           Cotter and Jefferson
 ERH, Soil                                             Higher             City Formations (300 –
                                  Low-Yield                                                               Fantastic
  Mixing,                                               Yield                  650 FT BGS) –
                                    Micro-                                                                 Cavern
Excavation                                             Macro-             “Domestic Yield Zone”
                                  Fractures
                                                      Fractures
                                                      and Karst           Roubidoux Formation
                                                                           (650 - 850 FT BGS) –           Springs
                                                                            “High Yield Zone”
          Remedial              EISB, Low
         Technology               Yield
          Screening             Pumping                                     Gunter Sandstone
           and Pilot           Wells at the                                Formation (1,100 to
                                                     EISB,
            Testing                OAP                                    1,150 FT BGS) – “High
                                                   Pumping
                                                                               Yield Zone”                 Vapor
                                                  Wells at the
                                                                                                         Extraction
                                                   OAP and
                                                   Sub-Floor

                                                                                    On-Site
                                                                                   Pumping

                                                                                                                      73
Let’s “Paws” and Recap the
  Things We Already Know




                             74
       Groundwater and Springs

       • TCE is present on the Site in the

What     Springfield and Ozark aquifers
       • TCE is present on the airport in

  We     the Springfield and Ozark
         aquifers

Know   • TCE is present in domestic wells
         to the North, East, and South of
         the site
       • TCE is present in springs to the
         North and East of the site



                                             75
       Site Operations

       • TCE was discharged at the OAP,
What     Sanitary Lagoon, NAP, and Sub-
         Floor Areas
  We   • VOCs remain in saturated clays
Know     and fractured bedrock
          – OAP and Sub-Floor




                                          76
       Geology and Hydrology

       •   Shallow limestone geology at the site and
           surrounding areas is characterized by karst
           dissolution features (upper 100 feet bgs)

What   •   Tracer tests indicate rapid groundwater
           movement from the Site to springs to the

  We       north (Fantastic Caverns) and east (Ritter
           Springs)


Know   •   Faults off-set geologic units and have
           pronounced but undefined hydraulic
           affects

       •   The Ozark aquifer is over-drafted and there
           is a downward gradient from the
           Springfield aquifer




                                                         77
       Geology and Hydrology

       • Faulting may have “broken” the
         aquitard at undefined locations

What   • Drilling and surface geophysics
         data indicate likely Northwest
  We     and Northeast trending
         fracture/fault features on the
Know     Site and surrounding areas

       • There is a “regional” east-west
         series of fault structures that
         create a “horst and graben”
         geologic fabric


                                           78
       Soil Vapor

       • TCE is present in soil vapor to the
         west of the Site
What
       • TCE is present in soil vapor and
  We     “cave air” at Fantastic Caverns

Know   • Shallow soil vapor sampling on a
         “regional scale” suggests clay
         overburden provides a
         “blanket” against potential for
         indoor air vapor intrusion


                                               79
       Investigation Tools

       •   Surface geophysics (resistivity) can
           be used to map both karst and

What       fractured bedrock “flow zones” to
           depth of at least 700 feet bgs

  We   •   Downhole geophysics can identify

Know
           zones of preferential groundwater
           flow under both static and dynamic
           conditions

       •   Drilling is costly and open boreholes
           have limitations for data collection



                                                   80
       Groundwater

       •   There are many groundwater “flow zones” in
           the Ozark aquifer – Fracture Flow


What   •   Groundwater flows into and out of the
           borehole in wells screened across multiple
           flow zones

  We   •   Most domestic wells are screened in the
           upper 400 to 500 feet bgs – Jefferson City

Know   •
           Formation

           Very productive groundwater flow zones are
           present on the Site in the Roubidoux and
           Upper Glasconade Formations – 600 to 850
           feet bgs

       •   TCE is present in the groundwater on the Site
           in the Roubidoux Formation


                                                           81
What   • It is technically infeasible to
         hydraulically capture
  We     contaminant mass in the karst
         system under dynamic flow
Know     conditions




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Data Objectives (DOs) -
Developing a Final Remedy




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84
             DO Flow Chart
  DO                           Data
                Hypotheses
Question                     Collection



  Good
Enough for       Update      Hypotheses
 Remedy           CSM         Reflection
Selection?



                                           85
       Data Objectives

Impacts to Domestic Wells


1.How is TCE getting from the Site to
  Domestic Wells:
  a)East of the Site near Ritter Springs?
  b)North of the Site near Fantastic Caverns?
  c)South of the Site (York and Harvey Wells)?


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          Data Objectives


Springs


2.How is TCE getting in Springs:
  a)East of the Site at Ritter Springs?
  b)North of the Site near Fantastic Caverns?



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          Data Objectives


Caverns



3.How is TCE getting into the Caverns in the Vapor
  Phase?




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          Data Objectives

On-Site Source Mass


4.With Regards to TCE and other Constituents of
  Concern (COC) on the Site:
  a)What is the Nature and Extent of Source Mass
   in Saturated Clays and Bedrock Fractures?
  b)What is the Feasibility of Further Reducing
   Source Mass through Active Remediation?

                                                   89
       Data Objectives

Off-Site Soil Vapor and Indoor Air

5.With Regards to VOCs in Soil Vapor to the
  West of the Site on the Airport Property:
  a)What is the Nature and Extent of VOCs
   in Soil Vapor?
  b)Are there Concentrations of VOCs in
   the Indoor Air of Hangers?


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             Data Objectives


Hydraulics


6.Is it Feasible to Provide Hydraulic Capture of
  Groundwater in the Springfield and Ozark
  Aquifers on and in Immediate Proximity to the
  Site?


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                      DO Flow Chart
      DO                                           Data
                         Hypotheses
    Question                                     Collection



     Good
   Enough for               Update               Hypotheses
    Remedy                   CSM                  Reflection
   Selection?


    Surface and          Well Installation and    Data Analysis and
Downhole Geophysics             Testing             Conclusions

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           Conceptual Path to Final Remedy                                        Assessment of
                                                                                 VOCs in Cutters         Conceptual 2021
                                                                                  and Fractures           Work Scopes
                                                                                  and Remedial
                              Report and Agency                                    Pilot Studies
                              Meeting to Present
                                 Updated Site
                              Conceptual Model                                      Potential
                                                                                  Expansion of
                                                                                  Ozark Aquifer
        Complete Ozark                                                                                    Report and        Draft Document
                                                                                  Pumping IRM
        Aquifer Hydraulic                            Agency Work                                            Agency                with
       Analysis for Capture                         Plans to Fill Data                                    Meeting to        Recommended
                                                   Gaps to Complete              Well Installations         Present          Final Remedy
                                                       Remedial                  to Characterize         Investigation       Submitted to
                                                   Investigation and            Off-Site Conditions      Findings and         Agency for
        Collect Off-Site                                Conduct                 to the East, South,     Draft Feasibility     Review and
       Geophysics Data to                           Feasibility Study                and North               Study             Comment
        East, South, and
              North
                                                                                    Soil Vapor
                                                                                  Evaluations to
         Conduct Off-Site                                                       Assess Feasibility
          Soil Vapor and                                                        of FC Up-Gradient
            Hanger Air                                                              Mitigations
           Evaluations

                                                                                 Springfield and
   Complete On-Going                                                              Ozark Aquifer
       Groundwater                                                                  Hydraulic
Investigations – Wells and                                                         Evaluations
  Downhole Geophysics


Jan                                 June                                 Dec                          June                          Dec
2020                                2020                                 2020                         2021                          2021


                                Continue Interim Remedial Actions and Domestic Well Sampling Program

                                                                                                                                   94
             •   Groundwater Monitoring
             •   Treatment System OMM

   List of   •
             •
                 Treatment System Expansions
                 Downhole Geophysics
    2020     •
             •
                 Surface Geophysics
                 Well Installations and Testing
Activities   •   On-Site Source Area Evaluations
             •   Caverns “Support”




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